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                                        Exhibit 3

                                 Patient Bar Date Notice




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                                          [Cano Health, Inc. Letterhead]



        You are receiving this notice regarding the chapter 11 cases of Cano Health, Inc. and certain of its
subsidiaries, as debtors and debtors in possession (collectively, the “Debtors”), because you are a current
or former patient of the Debtors.

        This notice is to inform you that April 22, 2024 at 5:00 p.m. Eastern Time is the deadline to file
proofs of claims against the Debtors in the chapter 11 cases. This date is known as the “General Bar Date”.

         Although you are receiving this notice it does not mean you have a claim or need to file a Proof
of Claim. You do not need to file a Proof of Claim for any refund arising in the ordinary course of business
that the Debtors have been previously authorized to pay by order of the Court. If you believe that you
have other claims against the Debtors, you may need to file a separate Proof of Claim, as patients are
generally not listed as creditors in the Debtors’ schedules of unsecured claims required to be filed with the
Court.

         Under the Bar Date Order, entered by the Bankruptcy Court on [●], 2024 at Docket No. [●], any
person or entity (other than a Governmental Unit) that holds a claim against the Debtors that arose before
February 4, 2024, must file a proof of claim on or before the General Bar Date. Any person or entity that
is required, but fails, to file a proof of claim (a “Proof of Claim”) on or before the General Bar Date will be
forever barred from asserting such claim against the Debtors, and will be barred from receiving any
distribution or vote in the Debtors’ chapter 11 cases with respect to such claim.

        Each Proof of Claim, including supporting documentation, must be filed (i) electronically at the
website of the Debtors’ claims agent, Kurtzman Carson Consultants LLC (“KCC”), using the interface
available at https://www.kccllc.net/CanoHealth under the link entitled “Submit Electronic Proof of
Claim (ePOC)” or (ii) by delivering the original Proof of Claim form by hand, or mailing the original
Proof of Claim form, on or before the General Bar Date, if by mail, to:

                              Cano Health, Inc. et al., Claims Processing Center
                              c/o Kurtzman Carson Consultants LLC
                              222 N. Pacific Coast Highway, Suite 300
                              El Segundo, California 90245

          If you wish to obtain a copy of the Proof of Claim Form, the Bar Date Order, or related documents
(or any other pleadings filed in these chapter 11 cases) you may do so by: (i) visiting KCC’s website at:
https://www.kccllc.net/CanoHealth, (ii) calling KCC at (888) 251-2679 (toll free) or (310) 751-2609
(int’l), and/or (iii) writing via hardcopy to the above address. If you wish to register your email address to
request electronic notice for the duration of the chapter 11 cases, please register at:
https://www.kccllc.net/CanoHealth.

        The Debtors and their advisors are unable to provide you with any legal advice. To the extent you
seek legal or other professional advice, please consult with your own lawyer or advisor.

         If you have any questions about this notice or the Debtors’ chapter 11 cases, please call our
dedicated hotline at (888) 251-2679 (toll free) or (310) 751-2609 (int’l) or visit
https://www.kccllc.net/CanoHealth/Inquiry.

          Sincerely,

                    Mark Kent
                    Chief Executive Officer




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